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                         IN THE UNITED STATES DISTRICT COURT FOR THE
                               SOUTHERN DISTRICT OF ALABAMA
                                    SOUTHERN DIVISION

        UNITED STATES OF AMERICA                           )

        vs.                                                )       CRIMINAL NO. 11-0012-KD

        LEROY WATERS,                                      )
        LORI SKOWRONSKI BRILL
        BUTCH BRILL                                        )
        RAYFORD TRAVIS GOODWIN1
        ANTHONY ERIC MOSLEY                                )
        JAMES ANTHONY GOINS
        CHRIS VERNON and JEFF VERNON,                      )

                Defendants.                                )

                                                  ORDER

        This matter came before the undersigned for a pretrial conference on May 10, 2011.

Present at the conference were Christ Coumanis, Esq., counsel for defendant LeRoy Waters;

Peter Madden, Esq., counsel for defendant Lori Brill; Neil Hanley, Esq., counsel for defendant

Butch Brill; Gordon Armstrong, Esq., counsel for defendant Anthony Eric Moseley; Joe Carl

Jordan, Esq., counsel for defendant James Goins; Jackson Sharman, Esq., counsel for defendant

Chris Vernon; James Sturdivant, Esq., Ken Nixon, Esq., and Robert Baugh, Esq., counsel for

defendant Jeff Vernon, and Assistant United States Attorneys Gregory Bordenkircher, Esq.,

Charles Baer, Esq., and Christopher Bodnar, Esq. Prior to the conference motions to continue

were filed by counsel for defendants Waters (doc. 84), Lori Brill (doc. 103), Butch Brill (doc.

108), Moseley (doc. 121), Chris Vernon (doc. 83) and Jeff Vernon (doc. 80),2 to which the

United States filed a reply, voicing no opposition to the continuance but requesting that the


1
  Defendant Rayford Travis Goodwin, who was summonsed, failed to appear at arraignment. An arrest warrant
was issued on April 21, 2011. (Doc. 42)
2
  With the exception of defendant Moseley, who sought a continuance to the September trial term, the other
defendants’ motions requested a continuance to the August 2011 criminal term.
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matter be continued to the September 2011 criminal term. With the exception of counsel for

defendants Chris Vernon and Jeff Vernon3, counsel for all remaining defendants expressed no

opposition to a continuance to the September 2011 criminal term.

          Upon consideration of the grounds presented by counsel during the conference, the

motions and the Court’s record, the undersigned finds that none of the defendants or the United

States will be unduly prejudiced by a continuance into the September 2011 term; therefore, the

defendants’ motions to continue (docs. 84,103,108,121,83, 80) the trial until September 2011 is

GRANTED. The trial in this action is CONTINUED into the September 2011 criminal trial

term.

          The court further finds that pursuant to 18 U.S.C. 3161(h)(7)(A), the ends of justice

served by taking such action outweighs the best interest of the public and the defendant in a

speedy trial. Specifically, due to the voluminous discovery (approximately 30,000 pages of

spread sheet documents and 70,000 pages in pdf form) as well as the somewhat complex nature

of this case, the delay is warranted to enable counsel to adequately prepare for trial and advise

their respective clients. 4 Under these circumstances, with an agreement of the parties, counsel

has proffered valid reasons for an extension of the pretrial preparation period in order to

otherwise prepare for trial. See 18 U.S.C. 3161(h)(7)(B)(iv). Therefore, for purposes of the

Speedy Trial Act, any delay resulting from this continuance is excludable pursuant to 18 U.S.C.

3161(h)(7)(A) (excluding A[a]ny period of delay resulting from a continuance granted by any

judge . . . if the judge granted such continuance on the basis of his findings that the ends of



3
  At the pretrial conference Jackson Sharman, Esq., counsel for defendant Chris Vernon and James Sturdivant,
Esq., counsel for defendant Jeff Vernon argued that due to the voluminous discovery a September 2011 trial setting
would be insufficient time to prepare for the trial of this matter. Counsel requested that the court order the parties to
confer and submit a proposed scheduling order to the court. That request was denied.
4
    All of the defendants are currently on pretrial release.
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justice served by taking such action outweigh the best interest of the public and the defendant in

a speedy trial.)

        The continuance of this matter is contingent on each of the defendants filing a waiver of

their Speedy Trial rights, signed by each defendant and his/her counsel, not later than Friday

May 20, 2011. The Clerk of the Court is directed to refer this matter to the appropriate

Magistrate Judge to set a pretrial conference in August 2011.

        Defendants Jeff Vernon and Chris Vernon have also filed motions (docs. 90, 91) to

continue the reciprocal discovery deadline and pretrial motions deadline to July 1, 2011 and July

5, 2011, respectively. There were no objections to these motions. Accordingly, the reciprocal

discovery deadline for defendants is hereby continued until July 1, 2011, and any pretrial

motions are due by July 5, 2011.

        DONE this the 10th day of May 2011.

                                             /s/ Katherine P. Nelson
                                             KATHERINE P. NELSON
                                             UNITED STATES MAGISTRATE JUDGE
